         Case 2:22-cv-00047-RAH-CWB Document 6 Filed 01/30/22 Page 1 of 16




                          IN THE UNITED DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

SHA’OLA TERRELL, an                                           )
Individual;                                                   )
                                                              )
           Plaintiff,                                         )
                                                              )
v.                                                            )                CIVIL ACTION NO.
                                                              )                2:22-CV-00047-SRW
                                                              )
ALABAMA STATE UNIVERSITY;                                     )                JURY TRIAL
THE BOARD OF TRUSTEES OF                                      )                DEMANDED
ALABAMA STATE UNIVERSITY,                                     )
                                                              )
           Defendants.                                        )

                                      AMENDED COMPLAINT1

           COMES NOW the Plaintiff, Sha’ola Terrell (hereinafter “Plaintiff”), by and

through the undersigned, and hereby files her amended complaint against Alabama

State University and The Board of Trustees of Alabama State University,

(hereinafter collectively referred to in the singular as “Defendant”) pursuant to The

Equal Pay Act (“EPA”), 29 U.S.C. Section 206(d) and the Clarke Figures Equal Pay

Act (“CFEPA”).




1
    Defendants counsel acknowledged in writing that they do not oppose the amending of this Complaint.

                                                         1
     Case 2:22-cv-00047-RAH-CWB Document 6 Filed 01/30/22 Page 2 of 16




                             NATURE OF ACTION

      Plaintiff brings this action to redress grievances resulting from acts of

Defendant, its agents, servants, board members, and employees with respect to

Plaintiff’s employment; and for a permanent injunction restraining Defendant from

maintaining a policy and practice of discriminating against the Plaintiff and other

persons similarly situated on account of gender. The Complaint describes

Defendant’s unlawful employment practices and acts of intentional discrimination

which took place during the Plaintiff’s employment. Plaintiff seeks injunctive relief

and along with monetary relief, consisting of, but not limited to, compensatory and

punitive damages, attorneys’ fees and costs.

                                     PARTIES

      1.     Plaintiff Sha’ola Terrell (hereinafter “Terrell”) is an adult who resides

in the state of Alabama.

      2.     Defendant Alabama State University (“ASU”) is located in

Montgomery, Alabama and is the site where the Plaintiff worked and the events

forming the subject of this lawsuit took place. ASU was the employer of the Plaintiff

during all relevant times within the meaning of EPA and CFEPA.

      3.     Defendant The Board of Trustees of Alabama State University is the

collective corporate body located in Montgomery, Alabama and the employer of the

Plaintiff within the meaning of EPA and CFEPA during all relevant times. The


                                          2
     Case 2:22-cv-00047-RAH-CWB Document 6 Filed 01/30/22 Page 3 of 16




Board of Trustees for Alabama State University was responsible for overseeing (and

did in fact oversee) the administration of the university, including but not limited to

the hiring and compensation of its employees, including the Plaintiff. The Board of

Trustees for Alabama State University is considered the employer of the Plaintiff

under the EPA and CFEPA. For purposes herein, the Defendants shall be collectively

referred to herein as “Defendant”.

                          JURISDICTION AND VENUE

      4.     This Court has subject matter jurisdiction over this action pursuant to

the CFEPA. Venue is proper in this Court as the events forming the basis of this

lawsuit took place in Montgomery.

                            STATEMENT OF FACTS

      5.     The Plaintiff is a female who was previously employed by the

Defendant in their Athletic Department. She served the position of Sr. Associate

Athletic Director with SWA designation.

      6.     Prior to joining ASU in October 2018, the Plaintiff had years of

experience at both ASU and Troy University in their athletics department along with

years of managerial experience. The Plaintiff holds a master’s degree in Sport

Management Administration from Troy University. She earned a 3.9 G.P.A. for her

graduate degree, also from Troy University, where she played and lettered in

women’s basketball.


                                          3
     Case 2:22-cv-00047-RAH-CWB Document 6 Filed 01/30/22 Page 4 of 16




      7.     The Plaintiff was highly qualified and successful performing roles that

have historically been held by males. Despite performing the same duties as males

in the same position, or similarly situated positions, the Plaintiff, a female, was not

paid the same as her male counter-parts. In fact, the Plaintiff held the SWA

designation which was given to a woman. The designation carried with it additional

responsibilities which Plaintiff fulfilled. Defendant refused to pay Plaintiff the SWA

stipend of $15,000 she was entitled. Not only did they refuse to pay Plaintiff this

female designated stipend they also refused to pay Jennifer Williams the same when

she held the designation.

      8.     The Plaintiff’s job responsibilities included but was not limited to:

      Internal Operations

      Summary: Provided oversight of all internal units which included:

      Compliance, Academics, Equipment, Business &Finance, Strength &

      Conditioning, Operations, Sports Medicine, Human Resources

      Note: Because of the structure the executive staff and the difference in

      Internal/External Units that needed management, the Athletic Director

      assigned HR & Sports Medicine daily duties to the Deputy Director with

      Plaintiff assisting where needed. (8 internal units vs. 3 external units).

      Compliance: ASU was on probation for multiple violations upon Plaintiff’s

      arrival. The Plaintiff worked diligently and successfully got the


                                          4
Case 2:22-cv-00047-RAH-CWB Document 6 Filed 01/30/22 Page 5 of 16




probation sanction lifted and restored the institution to its full NCAA

membership rights and privileges. A task that should've been completed years

prior to her arrival. Upon her arrival, there were only two staff members in

the compliance area with only one being full-time. Once they departed from

the institution, Plaintiff was the only one remaining for a period of time.

Because of its importance, Plaintiff revamped the unit, wanting to make it as

strong and efficient as possible. In addition, ASU was on probation prior to

Plaintiff’s arrival and part of the conditions that were sanctioned by the NCAA

was that the institution needed two to three full time employees within that

unit. Plaintiff hired a compliance coordinator, Assistant Athletic Director of

Compliance and Compliance Intern to satisfy the sanctions and provided

quality coverage of the unit.

Academics Services

Personnel changes took place in this unit as well, which left one staff member.

Because of ASU’s history with academic issues, it was important to Plaintiff

and A.D. Williams to have a full staff within this unit as well. Plaintiff hired

an Assistant Athletic Director of Academics, Assistant Director of Academic

Services and two additional full time advisors, along with a host of tutors and

monitors.

Business & Finance


                                    5
Case 2:22-cv-00047-RAH-CWB Document 6 Filed 01/30/22 Page 6 of 16




There was no personnel completing business functions from a managerial

perspective. In addition, there were no business procedures for the department

to conduct daily business. Plaintiff created and implemented all business

processes to ensure accurate record keeping, accountability and strategic

planning to ensure the department was operating within the limits of the

budget. Plaintiff served as the liaison to all cross- campus business

departments.

Equipment

Plaintiff hired an equipment coordinator for the department as there was only

one equipment manager, assigned specifically for one sport. This left the other

seventeen sports without assistance. In addition, Plaintiff created processes

both internally and externally to ensure a smooth workflow of business

practices. Also, Plaintiff managed all aspects of the Department’s contract

with its’ equipment providers, Adidas and its subsidiaries vendors which

included, contract negotiations, product updates, shipping and receiving

procedures, regional & national meetings, etc.

Strength & Conditioning

Plaintiff expanded the roster of staff from two full time staff members to three

full time with interns. In addition, the unit functioned as a support unit of one

program, but its intent is to provide services to all eighteen programs. With


                                    6
Case 2:22-cv-00047-RAH-CWB Document 6 Filed 01/30/22 Page 7 of 16




the revision of the unit’s duties and reporting structure, all eighteen programs

began getting service from the Strength & Conditioning unit.

Senior Woman Administrator

Plaintiff served as the SWA of the department from October 2018 until her

separation from the institution. The designation was to be accompanied with

a $15k annual stipend for performing the duties. Plaintiff performed all SWA

duties and beyond which included but was not limited to: attendance all

conference and NCAA meetings, conferences and events, completed all

conference and NCAA reports, attended conference championships as a

conference SWA liaison, served on conference committees to further grow

the membership, created student-athlete development program within the

department, created mental health outlets for all student-athletes, served as

title IX advocate for all student athletes, created gender equity plans for both

staff and student-athletes in support of the overall strategic plan for the

department.

Executive Staff Member

Plaintiff provided direct supervision for 8 of the 18 programs within the

department. She assisted with securing financial donors, negotiated game

contracts, made public appearances on behalf of the Athletic Director, acted

as a liaison to various external partners, provided recommendations to the


                                    7
     Case 2:22-cv-00047-RAH-CWB Document 6 Filed 01/30/22 Page 8 of 16




      Athletic Director on all aspects of the department. She also completed other

      various duties as assigned.

      9.     The work environment at ASU was ridiculed with inappropriate

comments and behaviors by male trustees regarding females, including but not

limited to: males were paid more for less responsibility; a male trustee banged on

tables in front of Plaintiff and other female staff as a show of authority and

dominance over the females while another male trustee allowed the conduct to occur

and continue; male trustee commented that females in the Athletic Department need

to wear more revealing clothing to get more money raised, and other derogatory and

offensive comments.

      10.    Another male within the Athletic Department who served a similar

position, was paid more than Plaintiff despite having Plaintiff having more

responsibilities. Both were Associate Athletic Director positions.

      11.    Despite her success, experience, workloads, Plaintiff was paid less than

ASU male employees who performed the same, or substantially the same work in

similar positions requiring similar skill, effort, responsibility and education.

      12.    For instance, the current Athletic Director, a male, is paid more than the

previous female (Jennifer Williams) yet lacks her success, education and

qualifications. The current Athletic Director is paid an estimated $170,000 while the




                                           8
     Case 2:22-cv-00047-RAH-CWB Document 6 Filed 01/30/22 Page 9 of 16




Plaintiff was paid $135,000. Ms. Williams also held the SWA designation but ASU

again refused to pay Williams the stipend that is due by virtue of the designation.

      13.    Defendant has a pattern and practice of paying females less than their

male counterparts. Based on information and belief, other examples of gender

inequality in pay by the Defendant include but are not limited to: Wanda Smith

(female CFO) was paid $135,000 while the male CFO, Bill Hopper, is paid

$175,000; former VP of Student Affairs DaVida Haywood received $135,000 while

her male counterpart Derrick Brewster was paid significantly more; President Boyd

was paid $25,000 less than her predecessor Joseph Silver; Assistant Vice President

of Human Resources Derrick Carr was paid more than his female counterpart Willie.

      14.    Plaintiff suffered unequal pay and benefits in the form of front and back

pay as a result of the Defendant’s misconduct.

      15.    When Plaintiff complained, she faced harassment, violent outbursts by

board members and others, and other retaliatory responses, which caused the

Plaintiff’s mental anguish, loss of career opportunities, termination, worry, and

emotional injury.

      16.    This action is brought pursuant to the EPA and CFEPA to obtain

equitable and injunctive relief and to remedy Defendant’s violations. As a result of

these violations, Defendant has deprived Plaintiff of her lawful wages, benefits and

caused Plaintiff to suffer injuries and damages.


                                          9
     Case 2:22-cv-00047-RAH-CWB Document 6 Filed 01/30/22 Page 10 of 16




                               CAUSE OF ACTION

              COUNT ONE - VIOLATION OF EQUAL PAY ACT

      17.    Plaintiff adopts all preceding paragraphs of this Complaint as if fully

set forth herein.

      18.    Plaintiff is female and a member of a protected group.

      19.    Plaintiff was paid lower wages than her male counterparts in violation

of the Equal Pay Act of 1963. The Plaintiff has access to information which reflects

she was paid less than similarly situated male employees who are

performing/performed substantially the same work with the same education, skill

and tenure. Defendants also refused to pay Plaintiff the $15,000 due her for

maintaining her SWA designation – a female designation that put more

responsibilities on the designee.

      20.    The basis for the disparity in wages between the Plaintiff and her male

counterparts is Plaintiff’s gender in violation of the Equal Pay Act of 1963.

      21.    This disparate treatment was caused by purposeful, willful or

intentional discrimination.

      22.    As a proximate result of Defendants’ unlawful intentional

discrimination, the Plaintiff suffered financial loss, economic loss, loss of

employment, shame, humiliation, emotional distress, trauma, worry, anxiety, and

other damages.


                                         10
     Case 2:22-cv-00047-RAH-CWB Document 6 Filed 01/30/22 Page 11 of 16




      23.    Plaintiff seeks declaratory and injunctive relief, award of lost

employment and career benefits and wages, back and front pay, interest,

compensatory damages for loss of career opportunity, humiliation, embarrassment,

mental anguish, costs, attorneys’ fees, punitive damages and any and all such other

relief the trier of fact may assess.

      24.    At all times relevant to this action, Defendants Alabama State

University and The Board of Trustees for the Alabama State University were the

“employer” of Plaintiff as defined by the Equal Pay Act of 1963.

      25.    At all times material to this action, Plaintiff was an “employee” of

Defendants as defined by the Equal Pay Act of 1963, and she worked for Defendants

within the United States within appropriate years preceding the filing of this lawsuit.

      26.    Defendants have a pattern and practice of paying females less than their

male counterparts. Other examples of gender inequality in pay by the Defendants

includes but is not limited to: Wanda Smith (female CFO) was paid $135,000 while

the male CFO, Bill Hopper, is paid $175,000; former VP of Student Affairs DaVida

Haywood received $135,000 while her male counterpart Derrick Brewster was paid

significantly more; President Boyd was paid $25,000 less than her predecessor

Joseph Silver; Assistant Vice President of Human Resources Derrick Carr was paid

more than his female counterpart Estella Willie Dixon.




                                          11
     Case 2:22-cv-00047-RAH-CWB Document 6 Filed 01/30/22 Page 12 of 16




                      COUNT TWO- VIOLATION OF THE
                     CLARKE-FIGURES EQUAL PAY ACT

      27.     Plaintiff adopts all preceding paragraphs of this Complaint as if fully

set forth herein.

      28.     Plaintiff is female and a member of a protected group.

      29.     Plaintiff was paid lower wages than her male counterparts in violation

of the Clarke Figures Equal Pay Act. The Plaintiff has access to information which

reflects she was paid less than similarly situated male employees who are

performing/performed substantially the same work with the same education, skill

and tenure.

      30.     The basis for the disparity in wages between the Plaintiff and her male

counterparts is Plaintiff’s gender in violation of the Clarke Figures Equal Pay Act.

      31.     This disparate treatment was caused by purposeful, willful or

intentional discrimination.

      32.     As a proximate result of Defendants ASU and the Board of Trustees for

Alabama State University’s unlawful intentional discrimination, the Plaintiff has

suffered financial loss, economic loss, loss of employment, shame, humiliation,

emotional distress, trauma, worry, anxiety, and other damages.

      33.     Plaintiff seeks declaratory and injunctive relief, award of lost

employment and career benefits and wages, back and front pay, interest,

compensatory damages for loss of career opportunity, humiliation, embarrassment,
                                         12
     Case 2:22-cv-00047-RAH-CWB Document 6 Filed 01/30/22 Page 13 of 16




mental anguish, costs, attorneys’ fees, punitive damages and any and all such other

relief the trier of fact may assess.

      34.    At all times relevant to this action, Defendants Alabama State

University and the Board of Trustees for Alabama State University were the

“employer” of Plaintiff as defined by the Clarke Figures Equal Pay Act.

      35.    At all times material to this action, Plaintiff was an “employee” of

Defendants as defined by the Clarke Figures Equal Pay Act, and she worked for

Defendants within Alabama within appropriate years preceding the filing of this

lawsuit.

      36.    Defendants have a pattern and practice of paying females less than their

male counterparts. Other examples of gender inequality in pay by the Defendants

includes but is not limited to: Wanda Smith (female CFO) was paid $135,000 while

the male CFO, Bill Hopper, is paid $175,000; former VP of Student Affairs DaVida

Haywood received $135,000 while her male counterpart Derrick Brewster was paid

significantly more; President Boyd was paid $25,000 less than her predecessor

Joseph Silver; Assistant Vice President of Human Resources Derrick Carr was paid

more than his female counterpart Estella Willie Dixon.

                        COUNT THREE- RETALIATION

      37.    Plaintiff adopts all preceding paragraphs of this Complaint as if fully

set forth herein.


                                         13
    Case 2:22-cv-00047-RAH-CWB Document 6 Filed 01/30/22 Page 14 of 16




      38.     As a result of Plaintiff’s vocalization about the work environment, poor

business practices, retaliatory culture, harassment and pay disparities, Plaintiff was

terminated.

      39.     The termination violated the Equal Pay Act and the Clarke Figures

Equal Pay Act which specifically prohibit retaliation in response to reporting.

      40.     Plaintiff has suffered embarrassment, economic damages, damage to

reputation, emotional distress, anxiety, worry and loss of access to other positions

and promotion, damage to reputation, and other damages.

      41.     Plaintiff seeks any and all damages she may be entitled under these

present circumstances.

      WHEREFORE, Plaintiffs pray for the following relief:

      A.      Grant a permanent injunction enjoining Defendants, its officers, board

              members, trustees, successors, assigns and all persons in active concert

              or participation with it, from engaging further in its discriminatory

              treatment.

      B.      Order Defendants to institute and carry out policies, practices and

              programs     which     provide    equal   provisions   and   employment

              opportunities for all employees, and which eradicate the effects of its

              past   and   present    unlawful    employment     practices,   including

              implementing a policy against discrimination;


                                           14
    Case 2:22-cv-00047-RAH-CWB Document 6 Filed 01/30/22 Page 15 of 16




      C.    Order Defendants to make Plaintiff whole by providing appropriate

            affirmative relief necessary to eradicate the effects of its unlawful

            employment practices, including but not limited to, compensatory and

            punitive damages;

      D.    Award Plaintiff their costs and expenses herein, including a reasonable

            attorney fee; and

      E.    Award such other and further relief which this Court deems necessary

            and proper.

      Respectfully submitted on this the 30th day of January 2022.




                                                  /s/ Jamie A. Johnston
                                                  ____________________
                                                  Jamie A. Johnston
                                                  Attorney for Plaintiff
OF COUNSEL:

Jamie A. Johnston, P.C.
509 Cloverdale Road, Suite 101
Montgomery, Alabama 36106
334.202.9228
334.265.8789 – facsimile
jamie@jjohnstonpc.com

MAILING ADDRESS:
PO Box 4663
Montgomery, Alabama 36103




                                       15
    Case 2:22-cv-00047-RAH-CWB Document 6 Filed 01/30/22 Page 16 of 16




                          JURY TRIAL DEMANDED

      A jury demand is hereby made for all claims.

                                             /s/ Jamie A. Johnston
                                             ________________________
                                             Jamie A. Johnston

                        CERTIFICATE OF SERVICE

      I hereby certify that I have served the foregoing document upon the following
by causing a true and complete copy of same to be delivered via electronic filing
using CM/ECF on this the 30th day of January 2022:

      Kenneth L. Thomas, Esq.
      Ramadanah S. Jones, Esq.
      Alabama State University
      PO Drawer 271
      Montgomery, Alabama 36101

/s/ Jamie A. Johnston
______________________
OF COUNSEL




                                        16
